                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )
                                               )
       v.                                      )        Case No. 6:18-cr-03049-01-MDH
                                               )
JUSTIN WATSON,                                 )
                                               )
                      Defendant.               )

                                            ORDER

       Before the Court is Defendant’s pro se motion for consideration of the Court’s previous

Order denying Defendant’s Motion for Compassionate Release. (Doc. 39). Defendant seeks

compassionate release based on the COVID-19 pandemic. Defendant asserts that he has

exhausted all of his administrative remedies, in opposition previous Order’s finding. Defendant

further emphasizes that he suffers from health conditions including hypertension, obesity, and

chronic obstructive sleep apnea.

       After careful consideration of the record before the Court, the Court hereby DENIES

Defendant’s motion.     The Court finds that, even assuming Defendant has exhausted all

administrative remedies, the Defendant has not established that his condition is so extraordinary

or compelling that he should be immediately released.



IT IS SO ORDERED.


DATED: October 21, 2020                     /s/ Douglas Harpool
                                            DOUGLAS HARPOOL
                                            UNITED STATES DISTRICT JUDGE




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